From:                  Ashley Walter
To:                    Daniel Crowell; Heather Collins
Cc:                    Anne Hunter; Erica Runnels; Leslie Sanders
Subject:               RE: Discovery Conference
Date:                  Thursday, May 27, 2021 1:44:19 PM
Attachments:           image001.png
                       image002.png


Great, talk to you then.


Ashley Walter
7000 Executive Center Drive, Suite 320
Brentwood, Tennessee 37027
615.724.1996 · 615.691.7019 fax
www.collinshunter.com


NOTICE: This e-mail message and all attachments transmitted with it may contain legally privileged and confidential information
intended solely for the use of the addressee. If the reader of this message is not the intended recipient, you are hereby notified that
any reading, dissemination, distribution, copying, or other use of this message or its attachments is strictly prohibited. If you have
received this message in error, please notify the sender (ashley@collinshunter.com) immediately by electronic mail and delete this
message and all copies and backups thereof. Thank you.


From: Daniel Crowell <dcrowell@webbsanderslaw.com>
Sent: Thursday, May 27, 2021 1:39 PM
To: Ashley Walter <ashley@collinshunter.com>; Heather Collins <heather@collinshunter.com>
Cc: Anne Hunter <anne@collinshunter.com>; Erica Runnels <erica@collinshunter.com>; Leslie
Sanders <lsanders@webbsanderslaw.com>
Subject: Re: Discovery Conference

Thanks, I’ll call you at 4:00.

Daniel Crowell
Webb Sanders PLLC
Direct: 615.241.9838
Cell: 859.608.4296
dcrowell@webbsanderslaw.com

From: Ashley Walter <ashley@collinshunter.com>
Sent: Thursday, May 27, 2021 1:35:49 PM
To: Daniel Crowell <dcrowell@webbsanderslaw.com>; Heather Collins
<heather@collinshunter.com>
Cc: Anne Hunter <anne@collinshunter.com>; Erica Runnels <erica@collinshunter.com>; Leslie
Sanders <lsanders@webbsanderslaw.com>
Subject: RE: Discovery Conference

Hi Daniel,


  Case 3:20-cv-00628 Document 41-4 Filed 06/16/21 Page 1 of 7 PageID #: 709
I will not be in the office tomorrow, but I am available after 3:30pm today. You can reach me at the
office number below.

Ashley


Ashley Walter
7000 Executive Center Drive, Suite 320
Brentwood, Tennessee 37027
615.724.1996 · 615.691.7019 fax
www.collinshunter.com


NOTICE: This e-mail message and all attachments transmitted with it may contain legally privileged and confidential information
intended solely for the use of the addressee. If the reader of this message is not the intended recipient, you are hereby notified that
any reading, dissemination, distribution, copying, or other use of this message or its attachments is strictly prohibited. If you have
received this message in error, please notify the sender (ashley@collinshunter.com) immediately by electronic mail and delete this
message and all copies and backups thereof. Thank you.


From: Daniel Crowell <dcrowell@webbsanderslaw.com>
Sent: Thursday, May 27, 2021 11:32 AM
To: Ashley Walter <ashley@collinshunter.com>; Heather Collins <heather@collinshunter.com>
Cc: Anne Hunter <anne@collinshunter.com>; Erica Runnels <erica@collinshunter.com>; Leslie
Sanders <lsanders@webbsanderslaw.com>
Subject: RE: Discovery Conference

Any time after 2:00PM today works for me. I can also make any time work tomorrow.


From: Ashley Walter <ashley@collinshunter.com>
Sent: Tuesday, May 25, 2021 4:59 PM
To: Daniel Crowell <dcrowell@webbsanderslaw.com>; Heather Collins
<heather@collinshunter.com>
Cc: Anne Hunter <anne@collinshunter.com>; Erica Runnels <erica@collinshunter.com>; Leslie
Sanders <lsanders@webbsanderslaw.com>
Subject: RE: Discovery Conference

Daniel,

Without waiving any privilege which may apply, but more for the sake of judicial economy, please
see the attached supplemental production. With this production there are no additional documents
being withheld due to privilege, as such a privilege log is no longer necessary. As you will see, this
production contains copies text messages between Kushkin and O’Connor. It is our understanding
this is all there is. This should render the subpoena to Kushkin unnecessary.

However, we will represent him for purposes of discovery in this case to the extent you still feel the


  Case 3:20-cv-00628 Document 41-4 Filed 06/16/21 Page 2 of 7 PageID #: 710
need to pursue documents from him. If that is the case, I am available Thursday afternoon to have
the required meet and confer.

   05252021 187-380

Best,
Ashley




Ashley Walter
7000 Executive Center Drive, Suite 320
Brentwood, Tennessee 37027
615.724.1996 · 615.691.7019 fax
www.collinshunter.com


NOTICE: This e-mail message and all attachments transmitted with it may contain legally privileged and confidential information
intended solely for the use of the addressee. If the reader of this message is not the intended recipient, you are hereby notified that
any reading, dissemination, distribution, copying, or other use of this message or its attachments is strictly prohibited. If you have
received this message in error, please notify the sender (heather@collinshunter.com) immediately by electronic mail and delete this
message and all copies and backups thereof. Thank you.


From: Daniel Crowell <dcrowell@webbsanderslaw.com>
Sent: Monday, May 24, 2021 12:34 PM
To: Heather Collins <heather@collinshunter.com>
Cc: Anne Hunter <anne@collinshunter.com>; Erica Runnels <erica@collinshunter.com>; Ashley
Walter <ashley@collinshunter.com>; Leslie Sanders <lsanders@webbsanderslaw.com>
Subject: Discovery Conference

Heather,

Please let me know your availability for a call to discuss the following:

    1. Rob Kuskin – we still don’t know whether you are representing him, whether you can & will
       accept service of the subpoena on his behalf, or his current address. As you know, I sent a
       subpoena to Mr. Kuskin last Wednesday at the only address that I was able to locate, but I
       have no way of knowing whether that service will be effective because I can’t confirm his
       address. In Interrogatory No. 1 of Defendant’s First Set of Interrogatories, we asked for Mr.
       Kuskin’s physical address, mailing address, telephone number, and email address. Plaintiff’s
       answer to Interrogatory No. 1 stated that Mr. Kuskin could only be contacted through you. If

  Case 3:20-cv-00628 Document 41-4 Filed 06/16/21 Page 3 of 7 PageID #: 711
       you can’t or won’t accept service of the subpoena for Mr. Kuskin, then we need all of that
       contact information.

    2. Privilege Log – we still don’t have a privilege log for Plaintiff for anything that you have
       withheld based on attorney-client, work product, spousal, or any other privileges.

I would like to have the call this week to ensure that we can get all of this resolved before Plaintiff’s
deposition.

Regards,

Daniel Crowell
Webb Sanders PLLC
CitySpace Ň611 Commerce Street ŇSuite 3102 ŇNashville, TN 37203
Direct: 615.241.9838ŇMain: 615.915.3300 ŇCell: 859.608.4296 ŇFax: 866.277.5494
dcrowell@webbsanderslaw.com




Disclaimer

The information contained in this communication from the sender is confidential. It is intended solely for use
by the recipient and others authorized to receive it. If you are not the recipient, you are hereby notified that
any disclosure, copying, distribution or taking action in relation of the contents of this information is strictly
prohibited and may be unlawful.

This email has been scanned for viruses and malware, and may have been automatically archived by
Mimecast Ltd, an innovator in Software as a Service (SaaS) for business. Providing a safer and more
useful place for your human generated data. Specializing in; Security, archiving and compliance. To find out
more Click Here.




  Case 3:20-cv-00628 Document 41-4 Filed 06/16/21 Page 4 of 7 PageID #: 712
From:             Daniel Crowell
To:               Heather Collins
Cc:               Anne Hunter; Ashley Walter; Erica Runnels; "lsanders@webbsanderslaw.com"
Subject:          FW: Ramsey/O"Connor
Date:             Wednesday, May 19, 2021 5:02:00 PM
Attachments:      2021.05.19 Subpoena - Kuskin, Rob.pdf


Heather,

I am sending the attached subpoena via UPS to you and to Rob Kuskin directly at the only address
that I was able to locate for him, 1222 Country Road, Franklin, TN 37069.

If you represent Mr. Kuskin and will accept service for him, then please tell him to disregard the copy
of the subpoena sent directly to him.

If you do not represent Mr. Kuskin or will not accept service for him, the please confirm whether I
have his correct address.

Regards,

Daniel

From: Daniel Crowell
Sent: Friday, May 14, 2021 5:28 PM
To: Heather Collins <heather@collinshunter.com>
Cc: Anne Hunter <anne@collinshunter.com>; Erica Runnels <erica@collinshunter.com>; Ashley
Walter <ashley@collinshunter.com>; Leslie Sanders <lsanders@webbsanderslaw.com>
Subject: RE: Ramsey/O'Connor

OK, that’s fine, but I will still be serving it on Wednesday. Please let me know if you still represent
Mr. Kuskin and, if so, whether I should send the subpoena to you or serve him directly. And, if
directly, please send me his address.


From: Heather Collins <heather@collinshunter.com>
Sent: Friday, May 14, 2021 5:20 PM
To: Daniel Crowell <dcrowell@webbsanderslaw.com>
Cc: Anne Hunter <anne@collinshunter.com>; Erica Runnels <erica@collinshunter.com>; Ashley
Walter <ashley@collinshunter.com>; Leslie Sanders <lsanders@webbsanderslaw.com>
Subject: RE: Ramsey/O'Connor

We object to it on Wednesday too.


From: Daniel Crowell <dcrowell@webbsanderslaw.com>
Sent: Friday, May 14, 2021 5:10 PM
To: Heather Collins <heather@collinshunter.com>
Cc: Anne Hunter <anne@collinshunter.com>; Erica Runnels <erica@collinshunter.com>; Ashley

  Case 3:20-cv-00628 Document 41-4 Filed 06/16/21 Page 5 of 7 PageID #: 713
Walter <ashley@collinshunter.com>; Leslie Sanders <lsanders@webbsanderslaw.com>
Subject: RE: Ramsey/O'Connor

You’re right. I’ll serve it on Wednesday. Please let me know if you want me to send it to you or serve
directly and, if directly, please send me his address.


From: Heather Collins <heather@collinshunter.com>
Sent: Friday, May 14, 2021 5:04 PM
To: Daniel Crowell <dcrowell@webbsanderslaw.com>
Cc: Anne Hunter <anne@collinshunter.com>; Erica Runnels <erica@collinshunter.com>; Ashley
Walter <ashley@collinshunter.com>; Leslie Sanders <lsanders@webbsanderslaw.com>
Subject: RE: Ramsey/O'Connor

Daniel,
The Local Rules require 2 business days to pass prior to service of the subpoena. Monday is not 2
business days, particularly given that is nearly the end of the business day today. We object to the
subpoena.


From: Daniel Crowell <dcrowell@webbsanderslaw.com>
Sent: Friday, May 14, 2021 4:30 PM
To: Heather Collins <heather@collinshunter.com>
Cc: Anne Hunter <anne@collinshunter.com>; Erica Runnels <erica@collinshunter.com>; Ashley
Walter <ashley@collinshunter.com>; Leslie Sanders <lsanders@webbsanderslaw.com>
Subject: Ramsey/O'Connor

Heather,

We plan to serve the attached subpoena on Monday. In plaintiff’s interrogatory answers, you
indicated that Rob Kuskin should be contacted through you. Please let me know if you are still
representing him and, if so, whether I should send the subpoena to you or serve him directly. If
directly, please provide me with his current address.

Relatedly, please provide me with an ETA for plaintiff’s privilege log for any documents that have
been withheld based on attorney-client, work product, spousal, or any other privileges.

Regards,

Daniel Crowell
Webb Sanders PLLC
CitySpace Ň611 Commerce Street ŇSuite 3102 ŇNashville, TN 37203
Direct: 615.241.9838ŇMain: 615.915.3300 ŇCell: 859.608.4296 ŇFax: 866.277.5494
dcrowell@webbsanderslaw.com




  Case 3:20-cv-00628 Document 41-4 Filed 06/16/21 Page 6 of 7 PageID #: 714
Disclaimer

The information contained in this communication from the sender is confidential. It is intended solely for use
by the recipient and others authorized to receive it. If you are not the recipient, you are hereby notified that
any disclosure, copying, distribution or taking action in relation of the contents of this information is strictly
prohibited and may be unlawful.

This email has been scanned for viruses and malware, and may have been automatically archived by
Mimecast Ltd, an innovator in Software as a Service (SaaS) for business. Providing a safer and more
useful place for your human generated data. Specializing in; Security, archiving and compliance. To find out
more Click Here.




  Case 3:20-cv-00628 Document 41-4 Filed 06/16/21 Page 7 of 7 PageID #: 715
